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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §
                                                              Case No. 2:-13-CR-1-JRG-RSP
                                                 §
LEONIDES LOAEZA-VASQUEZ (8)                      §

               ORDER ADOPTING MAGISTRATE JUDGE=S REPORT AND
                        FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United

States Magistrate Judge Roy S. Payne regarding defendant=s plea of guilty to Count 1 with a

violation of 18 U.S.C. ' 4, Misprision of a Felony. Having conducted a proceeding in the form and

manner prescribed by FED. R. CRIM P. 11, the Magistrate Judge recommends that the Court accept

the defendant=s guilty plea. The parties waived their right to file objections to the Findings of Fact
      .
and Recommendation. The Court is of the opinion that the Findings of Fact and Recommendation

should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed July 1, 2013, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant=s plea agreement, the Court finds

defendant GUILTY of Count 1 of the Information in the above-numbered cause.
        SIGNED this 19th day of December, 2011.
      So ORDERED and SIGNED this 29th day of July, 2013.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE
